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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SOMMER MILLER,                                    :
                                                   :
                  Plaintiff,                       :
                                                   :
          v.                                       :         21-cv-619-CMR
                                                   :
 THE CITY OF PHILADELPHIA, et al.,                 :
                                                   :
                  Defendants.

                                             ANSWER

          Defendants the City of Philadelphia and Sheriff Rochelle Bilal, by and through undersigned

counsel, hereby answer Plaintiff’s Amended Complaint as follows:

                                  JURISDICTION AND VENUE

          1.     Admitted.

          2.     Admitted.

                                             PARTIES

          3.     Admitted, upon information and belief.

          4.     Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          5.     Admitted.

          6.     Denied. The Office of the Sheriff is an operating department of the City of

Philadelphia.

          7.     Admitted in part, denied in part. Admitted that Rochelle Bilal is the Sheriff of the

County of Philadelphia. The remaining allegations in this paragraph are conclusions of law to
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which no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations

are denied.

       8.      The allegations in this paragraph are conclusions of law to which no answer is

required under the Federal Rules of Civil Procedure. Therefore, said allegations are denied.

                            COUNTER-STATEMENT OF FACTS

       9.      Admitted in part, denied in part. Plaintiff began her job as Undersheriff in January

2020. The remaining allegations are denied.

       10.     The allegations in this paragraph are conclusions of law to which no answer is

required under the Federal Rules of Civil Procedure. Therefore, said allegations are denied.

       11.     The allegations in this paragraph are conclusions of law to which no answer is

required under the Federal Rules of Civil Procedure. Therefore, said allegations are denied.

       12.     The allegations in this paragraph are conclusions of law to which no answer is

required under the Federal Rules of Civil Procedure. Therefore, said allegations are denied.

       13.     Denied.

       14.     Denied.

       15.     Denied. Plaintiff was hired as the Undersheriff. The remaining allegations are not

factual in nature but conclusions of law to which no answer is required under the Federal Rules of

Civil Procedure. Therefore, said allegations are denied.

       16.     Denied. Plaintiff was hired as the Undersheriff, a position that does not include the

duties described.

       17.     Denied as stated. By way of further response, Defendants are without sufficient

knowledge to admit or deny these allegations and therefore said allegations are denied.
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          18.   Denied. By way of further response, Defendants are without sufficient knowledge

to admit or deny these allegations and therefore said allegations are denied.

          19.   Denied.

          20.   Denied as stated.

          21.   Denied.

          22.   Denied.

          23.   Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          24.   Denied.

          25.   Denied. By way of further response, Defendants are without sufficient knowledge

to admit or deny these allegations and therefore said allegations are denied.

          26.   Denied.

          27.   Denied.

          28.   Denied. By way of further response, these allegations are not factual in nature but

conclusions of law to which no answer is required under the Federal Rules of Civil Procedure.

Therefore, said allegations are denied.

          29.   Denied.

          30.   Denied.

          31.   Denied.

          32.   Denied. By way of further response, these allegations are not factual in nature but

conclusions of law to which no answer is required under the Federal Rules of Civil Procedure.

Therefore, said allegations are denied.
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          33.   Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          34.   Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          35.   Denied. These allegations are not factual in nature but conclusions of law to

which no answer is required under the Federal Rules of Civil Procedure. Therefore, said

allegations are denied.

          36.   Denied. These allegations are not factual in nature but conclusions of law to

which no answer is required under the Federal Rules of Civil Procedure. Therefore, said

allegations are denied.

          37.   Denied. These allegations are not factual in nature but conclusions of law to

which no answer is required under the Federal Rules of Civil Procedure. Therefore, said

allegations are denied.

          38.   Denied. These allegations are not factual in nature but conclusions of law to

which no answer is required under the Federal Rules of Civil Procedure. Therefore, said

allegations are denied.

          39.   No response required. The exhibit speaks for itself.

                                            COUNT I

          40.   No response required.
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          41.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          42.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          The averments contained in this unnumbered paragraph constitute a request for damages

to which no responsive pleading is required. It is specifically denied that any action or inaction of

the City Defendants entitles Plaintiff to the relief requested.

                                             COUNT II

          43.    No response required.

          44.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          45.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          46.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          47.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.
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          The averments contained in this unnumbered paragraph constitute a request for damages

to which no responsive pleading is required. It is specifically denied that any action or inaction of

the City Defendants entitles Plaintiff to the relief requested.

                                            COUNT III

          48.    No response required.

          49.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          50.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          51.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          52.    Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          The averments contained in this unnumbered paragraph constitute a request for damages

to which no responsive pleading is required. It is specifically denied that any action or inaction of

the City Defendants entitles Plaintiff to the relief requested.

                                            COUNT IV

          53.    No response required.
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          54.      Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          55.      Denied. These allegations are not factual in nature but conclusions of law to which

no answer is required under the Federal Rules of Civil Procedure. Therefore, said allegations are

denied.

          The averments contained in this unnumbered paragraph constitute a request for damages

to which no responsive pleading is required. It is specifically denied that any action or inaction of

the City Defendants entitles Plaintiff to the relief requested.

                               DEFENDANTS’ PRAYER FOR RELIEF

          WHEREFORE, having fully answered and responded to the averments of Plaintiff’s

Complaint, Answering Defendants respectfully request that:

          (a) Plaintiff’s claims be dismissed, in their entirety and with prejudice;

          (b) Each and every prayer for relief contained in the Complaint be denied;

          (c) Judgment be entered in favor of Answering Defendants;

          (d) All costs, including reasonable attorneys’ fees, be awarded to Answering Defendants

                and against Plaintiff pursuant to applicable laws; and

          (e) Answering Defendants be granted such other and/or additional relief this Court deems

                just and proper.

                                            JURY DEMAND

Answering Defendants demand a jury trial in this matter.
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                          AFFIRMATIVE                  DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a claim upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Answering Defendants assert all of the defenses, immunities, and limitations of damages

available to it under the “Political Subdivision Tort Claims Act” and aver that Plaintiff’s remedies

are limited exclusively thereto. Act of Oct 5, 1980, No. 142, P.L. 693, 42 Pa. C.S.A. § 8541 et seq.

                                 THIRD AFFIRMATIVE DEFENSE

       Answering Defendants have in place a strong policy against discrimination and Defendants

otherwise exercised reasonable care to prevent and correct promptly any discrimination to which

Plaintiff claims she was subjected, and Plaintiff unreasonably failed to take advantage of the

preventive or corrective opportunities provided by Defendants or to avoid harm otherwise.

                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims may be barred in whole or in part by the applicable statute of limitations

and/or the doctrine of laches.

                                 FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims under the PHRA are barred because Plaintiff failed to exhaust the

applicable administrative remedies.
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       WHEREFORE, Answering Defendants deny that they are liable on the causes of action

declared herein, and demand judgment in their favor plus interest and costs.

                                                     Respectfully submitted,

                                                     CITY OF PHILADELPHIA
                                                     LAW DEPARTMENT

                                                     /s/ Daniel R. Unterburger    .
                                                     Daniel R. Unterburger
                                                     Assistant City Solicitor
                                                     1515 Arch Street, 16th Floor
                                                     Philadelphia, PA 19102
                                                     215.683.5080
 Dated: May 6, 2021                                  daniel.unterburger@phila.gov
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SOMMER MILLER,                                 :
                                                :
               Plaintiff,                       :
                                                :
        v.                                      :          21-cv-619-CMR
                                                :
 THE CITY OF PHILADELPHIA, et al.,              :
                                                :
               Defendants.

                               CERTIFICATE OF SERVICE

       I, Daniel R. Unterburger, hereby certify that on this date I caused the foregoing Answer to

Plaintiff’s Amended Complaint to be filed electronically, where it is available for viewing and

downloading.

                                                     Respectfully submitted,

                                                     CITY OF PHILADELPHIA
                                                     LAW DEPARTMENT

                                                     /s/ Daniel R. Unterburger    .
                                                     Daniel R. Unterburger
                                                     Assistant City Solicitor
                                                     1515 Arch Street, 16th Floor
                                                     Philadelphia, PA 19102
                                                     215.683.5080
 Dated: May 6, 2021                                  daniel.unterburger@phila.gov
